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     In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1490V
                                        UNPUBLISHED


    BARBARA BOWIE,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: February 17, 2021
    v.
                                                            Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                 Stipulation on Damages; Influenza
    HUMAN SERVICES,                                         (Flu) Vaccine; Guillain-Barre
                                                            Syndrome (GBS)
                       Respondent.


Jennifer Leigh Allen, Allen Law LLC, Ellicott City, MD, for Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION ON JOINT STIPULATION

        On September 27, 2018, Barbara Bowie filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.1 (the
“Vaccine Act”). Petitioner alleges that she developed Guillain-Barré syndrome as a result
of an influenza (“flu”) vaccine administered on October 16, 2015. Petition at 1; Stipulation,
filed February 17, 2021, at ¶¶ 2, 4. Petitioner further alleges she received the vaccine in
the United States, that she experienced the residual effects of her injury for more than six
months, and that there has been no prior award or settlement of a civil action for damages
as a result of her alleged condition. Petition at 2, 6; Stipulation at ¶¶ 3-5. “Respondent
denies that petitioner sustained a GBS Table injury and further denies that the influenza
immunization is the cause of petitioner’s alleged GBS or any other injury or condition.”
Stipulation at ¶ 6.

       Nevertheless, on February 17, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:




1 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        A lump sum of $100,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.2

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




2 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
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